        Case 1:15-cv-14137-DJC Document 245 Filed 12/11/18 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS




ORLANDO RILEY,

               Plaintiff,

V.                                                    Civil Action No. 15-cv-14371


MASSACHUSETTS STATE POLICE,

               Defendant.



                                       VERDICT FORM


We, the jury, find:


1.     Has Playi'^ff Mr. Riley shown, by a preponderance of evidence, that Defendant MA State
       Police^enied him admission to the 80th RTT on account of his race or color?

             Yes              No


       If "no, " answer no further questions and have your foreperson sign and dale this verdict
       form. If "yes, "proceed to Question #2.


2.      Did Plairftiffsuffer harm as a result of Defendant MA State Police's racial discrimination?

             Yes              No


        If "no, " answer no further questions andhcwe yourforeperson sign anddate this verdict
       form. If "yes, "proceed to next Question #i.


3.      What, if any, back pay do you award to Plaintiff Mr. Riley?

        State the amount in figures: %     P
        State the amount in words:

        Proceed to Question ii4.
        Case 1:15-cv-14137-DJC Document 245 Filed 12/11/18 Page 2 of 2




4.     What, if any, front pay do you award to Plaintiff Mr. Riley?

       State the amount in figures: $ /)
       State the amount in words:


       Proceed to Question #5.


5.     What, if any, emotional distress damages do you award to PlaintiffMr. Riley?

       State the amount in figures:
       State the amount in words:


The undersigned foreperson of the jury hereby certifies that the members of the jury agree to the
above findings.


                                                                /yJ^M
date                                               :¥oREPERSON'S SIGNATURE
